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                            Exhibit 2
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 Cameron M. Best, MD
 Orthopedic Surgeon
 November 18, 2022
 On November 15, 2022, I examined the above 36-year-old client, Jason Hinson, in the
 Natchitoches Parish Detention Center. This report is for Hinson v. Martin, No. 5:17-cv-260. In
 preparation for and during the course of my examination, I reviewed the following documents:
        1. DeSoto Parish Emergency Medical Service Patient Care Record, Mansfield, Louisiana
        (DEF 8-18);
        2. DeSoto Regional Health System records, Mansfield, Louisiana (DEF 19-31);
        3. University Health Records, Shreveport, Louisiana (DEF 32-490);
        4. DeSoto Parish Sheriff’s Office Incident Report from February 22, 2016 (DEF 1-4);
        5. City of Faith Ministries Medical Records (DEF 493-957);
        6. Richland Parish Detention Center Medical Records (DEF 958-985);
        7. David Wade Correctional Center Medical Records (DEF 1088-1155);
        8. Caddo Parish Sheriff Detention Medical Records (DEF 1316-1384);
        9. Red River Parish Jail Medical Records (DEF 1439-1828);
        10. River Bend Detention Center Medical Records (DEF 1839-1901);
        11. Christus Coushatta Health Care Center Medical Records (DEF 2248-2279);
        12. Natchitoches Parish Detention Center Medical Records (DEF 2696-2810);
        13. Seven (7) color photographs of Mr. Hinson at the time of the incident (DEF 1918-
        1924);
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        14. Police Dash Cam Video of the incident (DEF 1916);
        15. Certified Transcript of the Police Dash Cam Video of the incident (HINSON
        00000001-00000038);
        16. Fifteen (15) color photographs of Mr. Hinson’s scar after the incident (DEF 2210-
        2224);
        17. Deposition transcripts from the depositions of Dr. Jay Dujon and Dr. Nicholas Harris.
 I reserve the right to amend this report if and when additional material becomes available.

                                      BASIS OF OPINION
 I am a board-certified orthopedic surgeon, who specializes in hand and upper extremity care. I
 take care of both degenerative and traumatic injuries specific to the upper extremity. I am in
 active practice, performing approximately 500 to 600 surgeries per year.

 I completed an orthopedic surgery residency at the Baylor College of Medicine in Houston,
 Texas. This was followed with a one-year hand and upper extremity fellowship at the Medical
 College of Wisconsin in Milwaukee, Wisconsin. In addition to my board certification in
 orthopedics, I also subspecialized with a certificate of added qualification (CAQ) in orthopedic
 surgery of the hand. This certification is for board-certified, orthopedic surgeons who have
 demonstrated qualifications in hand surgery beyond that which was expected of other
 orthopedic surgeons by virtue of adding additional training, and a practice, characterized by a
 volume and diversity of cases in hand surgery. Following completion of my fellowship, I became
 a full-time faculty member of the Medical College of Wisconsin, where I practiced for seven
 years from 2014-2021. While at the Medical College of Wisconsin, I was an assistant professor
 in the orthopedic surgery residency program, as well as a faculty member of the hand and
 upper extremity fellowship. Our residency program had 25 residents each year and the
 fellowship had three fellows per year. During my practice in Milwaukee, Wisconsin, I took care
 of trauma patients in a Level-1 trauma center specifically caring for injuries of the upper
 extremity. These types of injuries included those sustained in motor vehicle accidents,
 gunshots, and animal bites. Specifically, with respect to animal bites, I have taken care of
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 numerous dog bites. I have cared for a gentleman that was bitten by a dog in the forearm and
 sustained nerve injuries as a result.

 In 2021, I moved to Monroe, Louisiana and joined a private practice. I am one of only two CAQ
 certified hand and upper extremity surgeons in the north central/northeastern Louisiana
 region. I continue to treat hand/upper extremity injuries and conditions; both traumatic and
 degenerative. As an orthopedic and an upper extremity surgeon, my expertise involves taking
 care of bones, muscles, tendons, nerves, and vascular injuries/pathology. As an orthopedic
 surgeon that worked in a Level 1 (high trauma) setting, I took care of many individuals that
 suffered from compartment syndrome. I took care of them in the acute setting with
 compartment releases (fasciotomies) and subsequent closure and possible skin grafting. I also
 continued to care for them in the outpatient setting with therapy and revision surgery for
 scarring or further muscular or neural deficits.

 To evaluate individuals in this manner, I pull from my extensive training and experience, in
 taking care of hand and upper extremity injuries, in both rural and major metropolitan regions.
 The opinions I am able to make are based on a reasonable medical certainty and are consistent
 with other medical individuals in my area of subspecialty. I am being compensated for my time
 at an hourly rate of $650 for all work through depositions, and travel time, and $1150 per hour
 for time in court. A copy of my CV is attached.

                                      CHIEF COMPLAINT
 Multiple dog bites to the right forearm and wrist; now with persistent pain and nerve injury.

                                            HISTORY
 According to the incident report, Mr. Hinson was apprehended by the DeSoto Parish Sheriff’s
 Office on February 22, 2016. During that apprehension, a canine unit was utilized. Per the
 incident report, the canine was deployed off leash and after approximately 200 yards of pursuit,
 the canine unit caught Mr. Hinson on the right arm and pulled him to the ground. Per the
 report, the canine was not removed from Mr. Hinson until back up arrived.
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 As reviewed in the dash cam video footage of the incident, Mr. Hinson complained of significant
 and severe pain in his right arm from the time of injury. He was placed into handcuffs and then
 transferred to the DeSoto Regional Health System for initial evaluation before being transferred
 to the University Health Center.

 At the University Health Center, the patient was evaluated in the emergency room and found to
 have multiple puncture wounds and tearing to the right forearm. There was severe pain and
 swelling noted at this time. He did complain of numbness in his middle, ring, and small fingers.
 Due to his swelling, uncontrolled pain, and mechanism of injury (multiple dog bites) he was felt
 to have compartment syndrome. He was given IV antibiotics and was taking emergently to the
 operating room by Dr. Jay Dujon (general surgery) and Dr. Nicholas Allen Harris (resident
 surgeon) for fasciotomy of the right forearm.

 Surgery #1:
 Fasciotomy performed to the volar compartment of the right forearm. A large, curvilinear (S-
 shaped) incision was made the full length of the forearm in order to release the pressure of the
 underlying tissues. This surgery also allowed for evaluation of the bite wounds and the resulting
 damage.

 The wounds were left open initially, to allow for decreasing swelling. On 2/25/2016, Mr. Hinson
 returned to the operating room.

 Surgery #2:
 Right forearm wound irrigated. Primary/complete closure of wound.

 Mr. Hinson convalesced appropriately in the hospital after the second surgery. During his
 hospitalization, he did continue to complain of altered sensation and pain in his right
 forearm/hand. He was referred to occupational therapy for range of motion and strengthening
 upon discharge in the hospital.
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                                             EVALUATION
 On 11/15/2022, I personally evaluated Mr. Jason Hinson. At the present time, he complains of
 constant numbness and tingling in the right small and ring fingers. He also complains of
 significant swelling in the right elbow, especially with repetitive activities. He complains of
 feeling weak in his grip strength.
 On physical examination of his right upper extremity, he has a large curvilinear scar the full
 length of the forearm on the volar aspect of his forearm. There are significant depressions
 within his muscle belly at multiple locations, approximately 6 and 8 cm past or distal to the
 lateral aspect of his elbow. These areas of depression in the muscle are not tender. There is
 scarring present on the volar wrist at two locations, each measuring 2-3 mm consistent with
 puncture wounds. There is no depressions of these scars. On the inside of his forearm, he has
 multiple areas of depressions, approximately 8 cm, 9 cm, and 10 cm distal to the medial elbow.
 He has significant hypersensitivity surrounding the volar aspect of his forearm. He does have a
 significant Tinel at the elbow within the region of the cubital tunnel.
 Within the hand, he does have significant decrease in strength of 4+/5 flexion and strength in
 his small and ring fingers. He also has mild decreased strength within his intrinsic hand
 musculature, with a 5-/5 first dorsal interosseous muscle. Overall, he has good blood flow
 within the hand with a negative Allen’s test. He has 2+ radial and ulnar pulses. He does have
 subjective decreased sensation in his ulnar distribution with significant paresthesias present.
 My overall conclusions of Mr. Hinson’s injuries are as follows:
 1. He sustained a severe crush injury with multiple bites to his right forearm. This caused
 significant and severe swelling necessitating emergent compartment release. It is apparent that
 multiple bite marks were present, as the depressions and scarring within the forearm and scars
 at the wrist are consistent with more than one bite.
 2. He does have a physical examination consistent with significant scarring and injury to his
 ulnar nerve resulting in persistent and painful paresthesias and tingling within his small and ring
 fingers. He also has significant paresthesias along the entirety of his volar forearm consistent
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 with possible injury to the superficial nerves of the forearm, whether from the dog bites or
 from the surgery itself necessitated by the dog bites. The ulnar nerve, which is currently
 injured, provides sensation in the small and ring finger but also supplies motor function for the
 small and ring finger flexion as well as multiple muscles within the hand itself to spread his
 fingers apart. His physical examination is consistent with decreased flexion and strength
 secondary to chronic compression and injury to the ulnar nerve. The pain, paresthesias,
 decreased sensation, and decreased strength that Mr. Hinson currently has because of multiple
 dog bite injuries will be persistent unless further intervention is gained. It is possible that he
 would benefit from exploratory surgery to release any scar tissue surrounding the ulnar nerve,
 not only at the level of the dog bites but in the region of the wound bed and at the elbow. This
 could help to decrease the persistent tingling or paresthesias of the fingers as well as to
 increase his strength with grip flexion and hand function. Even with surgery, it is likely that the
 decrease in strength would be permanent as the length of time from the injury could have
 allowed the connection of the nerves to the muscles to be permanently damaged. Following
 any surgery that would be performed, I would recommend a significant amount of physical and
 occupational therapy to help regain the most function possible.


                                                      ______________________

                                                      Dr. Cameron Best
                                                      November 18, 2022
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                 Attachment A
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                                Cameron M. Best, MD
                                          1501 Louisville Ave
                                          Monroe, LA 71201
                                            (501) 690‐5631
                                          cbest@tocnla.com

 WORK EXPERIENCE
        Assistant Professor                                                    08/2014 – 07/2021
        Medical College of Wisconsin, Dept. of Orthopaedic Surgery
        9200 W. Wisconsin Avenue, Milwaukee, WI 53226

        Partner                                                                09/2021 – present
        North Louisiana Orthopaedics and Sports Medicine
        1501 Louisville Avenue, Monroe, LA 71201

 HOSPITAL STAFF PRIVILEGES
        September 2021 ‐ present        St. Francis Memorial Hospital, Monroe, LA
        September 2021 ‐ present        Glenwood Regional Medical Center, West Monroe, LA
        September 2021 ‐present         Ambulatory Surgery Center of North Louisiana, Monroe LA
        September 2021 ‐present         North Louisiana Medical Center, Ruston LA

 SPECIALTY BOARDS & CERTIFICATION
        Board Certified                                         Issue Date     Expiration
                American Board of Orthopaedic Surgery           07/27/2017     12/31/2027
        Licensure                                               Issue Date     Expiration
                Louisiana License                               07/01/2021     10/31/2023

 POST GRADUATE TRAINING AND FELLOWSHIP
       08/2013 – 07/2014 – Fellowship, Hand & Upper Extremity, Medical College of Wisconsin
       03/2013 – 05/2013 – Shoulder Fellowship with Pascal Boileau, Nice, France
       07/2009 – 06/2013 – Residency, Orthopaedic Surgery, Baylor College of Medicine
       06/2008 – 06/2009 – Internship, General Surgery, University of Colorado

 EDUCATION
       08/2004 – 5/2008 – M.D., University of Arkansas for Medical Sciences, Little Rock, AR
       08/2000 – 05/2004 – B.S., Louisiana Tech University, Ruston, LA

 EDUCATIONAL ADMINISTRATIVE APPOINTMENTS
       2015 – 2021  Course Director Hand & Upper Extremity Resident/Fellow Didactics
       2018 – 2021  Co‐medical Director Advanced Practice Practitioner Orthopaedic Fellowship

 HONORS
      2012‐2013        Chief Resident                  Orthopaedic Surgery Residency, Baylor
      2012‐2013        Bronze Hammer Award             Orthopaedic Surgery Residency, Baylor
      2007 ‐ Ethel Brickey Hicks Charitable Trust Merit Scholarship   University of Arkansas
      2006 & 2007 Tenenbaum Charitable Foundation Scholarship University of Arkansas
      2006             Class of 1982 Scholarship                      University of Arkansas
      2006             Taylor Memorial Scholarship                    University of Arkansas
      2005‐2008        Class President                                University of Arkansas
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 MEMBERSHIPS
      2013 – present              American Academy of Orthopaedic Surgeons
      2013 – present              American Society for Surgery of the Hand (candidate member)
      2014 – present              American Orthopaedic Association Emerging Leaders Program
      2014 – 2021                 Wisconsin Orthopaedic Society
      2014 – 2021                 Milwaukee Orthopaedic Society

 INVITED LECTURES
        MCW Sports Medicine Didactics, Milwaukee, WI                                       October 2014
               “Overuse Injuries”
        Milwaukee Orthopaedic Society , Milwaukee, WI                                      October 2014
               “Hand & Upper Extremity”,
        FMCPP Billing & Collections Team Brown Bag Seminar, Milwaukee, WI                  March 2016
               “Upper Extremity: Common Diagnosis & Treatment Options”
        West Bend Rehab Center, West Bend, WI                                              April 2016
               “Reverse Total Shoulder Arthroplasty “
        Wisconsin Orthopaedic Society Annual Meeting                                       October 2019
               “Shoulder Arthroplasty in the Young Patient”
        Wisconsin Orthopaedic Society Annual Meeting                                       October 2019
               “Upper Extremity Trauma Update Roundtable”
        Occupational Therapy Updates: Cadaver Course                                       February 2020
               “Elbow Trauma and Reconstruction”

 RESEARCH PRESENTATIONS, PUBLICATIONS AND PAPERS
       A Cost Analysis of Limited Pedicle Screw Fixation in the Treatment of Adolescent Idiopathic
       Scoliosis; Podium presentation, Shriners Hospital for Children, Houston, TX      2012

        Ifedi BO, Best CM, Reichel LM. Heterotopic ossification following distal radius fractures in a
        patient with Parkinson disease treated with levodopa‐carbidopa. J Hand Surg Am. 2013
        Jun;38(6):1259‐61. doi: 10.1016/j.jhsa.2013.03.017. PMID: 23707023.

        An Analysis of Preoperative Antisepsis Patterns Following Publication of Evidence‐Based
        Guidelines for Management of Carpal Tunnel Syndrome: An Analysis of Preoperative Antisepsis
        Patterns Following Publication of Evidence‐Based Guidelines for Management of Carpal Tunnel
        Syndrome; ePoster, American Society of Surgery of the Hand Annual Meeting 2020

        Walker MR, Hoben GM, Best CM, Daley RA. Early Experience With Locked Intramedullary Wrist
        Arthrodesis. J Hand Surg Am. 2021 Jul;46(7):620.e1‐620.e6. doi: 10.1016/j.jhsa.2020.11.015.
        Epub 2021 Jan 21. PMID: 33485715.

        Biomechanical Analysis Of A Suture Cerclage Technique For Coracoclavicular Reconstruction.
        Poster presentation. Orthopaedic Research Society Annual Meeting. February 10‐14, 2023.

 PRIOR EXPERT TESTIMONY
        I have not testified as an expert at a trial within the last four years.
